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  15                           UNITED STATES DISTRICT COURT
  16                         SOUTHERN DISTRICT OF CALIFORNIA
  17 DARRYL DUNSMORE, ANDREE                             Case No. 3:20-cv-00406-AJB-DDL
     ANDRADE, ERNEST ARCHULETA,
  18 JAMES CLARK, ANTHONY EDWARDS,                       NOTICE OF MOTIONS AND
     LISA LANDERS, REANNA LEVY,                          MOTIONS FOR PRELIMINARY
  19 JOSUE LOPEZ, CHRISTOPHER                            INJUNCTION AND
     NELSON, CHRISTOPHER NORWOOD,                        PROVISIONAL CLASS
  20 JESSE OLIVARES, GUSTAVO                             CERTIFICATION
     SEPULVEDA, MICHAEL TAYLOR, and
  21 LAURA ZOERNER, on behalf of                         Judge:      Hon. Anthony J. Battaglia
     themselves and all others similarly situated,       Magistrate: Hon. David D. Leshner
  22               Plaintiffs,                           Date:       June 29, 2023
  23        v.                                           Time:       2:00 p.m.
     SAN DIEGO COUNTY SHERIFF’S                          Ctrm.:      4A
  24 DEPARTMENT, COUNTY OF SAN
     DIEGO, SAN DIEGO COUNTY                             Trial Date: None Set
  25 PROBATION DEPARTMENT, and DOES
     1 to 20, inclusive,
  26
                   Defendants.
  27
  28
       [4266141.1]                                                Case No. 3:20-cv-00406-AJB-DDL
           NOTICE OF MOTIONS AND MOTIONS FOR PRELIMINARY INJUNCTION AND PROVISIONAL CLASS
                                           CERTIFICATION
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   1 TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
   2                 PLEASE TAKE NOTICE that on June 29, 2023 at 2:00 PM, before the
   3 Honorable Anthony J. Battaglia, in the United States District Court for the Southern
   4 District of California, Plaintiffs Darryl Dunsmore, Andree Andrade, Ernest
   5 Archuleta, James Clark, Anthony Edwards, Lisa Landers, Reanna Levy, Josue
   6 Lopez, Christopher Nelson, Christopher Norwood, Jesse Olivares, Gustavo
   7 Sepulveda, Michael Taylor, and Laura Zoerner, on behalf of themselves and all
   8 other similarly situated, will and hereby do move for a Preliminary Injunction and
   9 for Provisional Class Certification (“the Motions”), under Federal Rule of Civil
  10 Procedure Rules 23 and 65.
  11                 The Motions will be based on this Notice; the accompanying Memorandum of
  12 Points and Authorities; the accompanying Request for Judicial Notice and
  13 associated exhibits; the Declarations of Gay Grunfeld, Syroun Sanossian, Andree
  14 Andrade, Stephon Butler, Tyrone Childs, James Clark, Cristian Esquivel, Alberto
  15 Fuentes, James Kingery, Nierobi Kuykendall, Lisa Landers, Maurice Littlejohn,
  16 Kevin Martin, Victor Medrano, Randall Rosier, and Matthew Ybarra, and associated
  17 exhibits; any evidence and argument presented at the hearing on the Motions; and
  18 all other papers and pleadings on file in this action.
  19
  20 DATED: April 25, 2023                      Respectfully submitted,
  21
                                                ROSEN BIEN GALVAN & GRUNFELD LLP
  22
  23                                            By: /s/ Gay Crosthwait Grunfeld
  24                                                Gay Crosthwait Grunfeld
  25
                                                Attorneys for Plaintiffs
  26
  27
  28
       [4266141.1]                                2               Case No. 3:20-cv-00406-AJB-DDL
           NOTICE OF MOTIONS AND MOTIONS FOR PRELIMINARY INJUNCTION AND PROVISIONAL CLASS
                                           CERTIFICATION
